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                                   UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                    Case No. 16-20897-CR-PAS

  UNTIED STATES OF AMERICA,

        Plaintiff,
  vs.

  PRINCESS CRUISE LINES, LTD.,

         Defendant.
  __________________________/

                      ORDER RE: OCTOBER 16, 2020 STATUS CONFERENCE
                     AND CALL-IN INSTRUCTIONS FOR PRESS AND PUBLIC

        IT IS ORDERED THAT due to the Coronavirus 2019 (“COVID-19”) pandemic:

            1) The status conference scheduled for 2:00 PM EST on October 16, 2020 by the Court's

                 January 9, 2020 Order [DE 174] will be held via virtual means. The court anticipates the

                 conference terminating at approximately 3:30 PM EST.

            2) In order to facilitate the virtual conference, by noon (12:00 PM EST) on Tuesday,

                 October 13, 2020, the Parties shall provide the first and last name and the email for each

                 person who will participate in the status conference. The Court will provide instructions

                 for ZOOM participation by way of email to Counsel for the Parties the evening before the

                 conference. The following people SHALL attend the status conference via ZOOM:

                         a.      Counsel for all Parties,

                         b.      Chairman of the Boards of Directors Micky Arison;

                         c.      CEO Arnold Donald;

                         d.      COO Josh Weinstein;

                         e.      Chief Maritime Officer Vice Admiral William Burke (Ret.);

                         f.      Chief Ethics and Compliance Officer Peter Anderson;

                         g.      Health/Safety/Security Corporate Compliance Manager

                                 Gerry Ellis;
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                       h.       Environmental Corporate Compliance Manager Chris

                                Donald;

                       i.       Head of the Incident Analysis Group Peter Hutchinson;

                       j.       The Third Party Auditor;

                       k.       The U.S. Probation Officer; and

                       l.       The Court Appointed Monitor.

           3) The Parties are encouraged to confer prior to the status conference in an effort to

               streamline any issues and to maximize the time allotted by the Court for the hearing.

           4) The public and the press may listen to the status conference on October 16, 2020 via ATT

               telephone conference by:

                       i. Calling the Toll Free Number: (877) 848-7030

                       ii. Entering the Access Code, followed by the # sign: 4607489

               (There is no security code, so bypass this step if a security code is requested).

               a.      Once you have connected to the telephone conference, please mute your

               telephone so that other members of the public may hear the status

               conference free from interference.

               b.      Persons granted remote access to this proceeding are reminded of the

               general prohibition against photographing, recording, live streaming and

               rebroadcasting of court proceedings. Violation of these prohibitions may

               result in sanctions, including removal of court issued media credentials,

               restricted entry to future hearings, denial of entry to future hearings, or any

               other sanctions deemed necessary by the court.

        DONE AND ORDERED in Miami, Florida, this 3rd day of October, 2020.


                                                 ___________________________________
                                                 PATRICIA A. SEITZ
                                                 UNITED STATES SENIOR DISTRICT JUDGE


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